Case: 1:11-cv-05624 Document #: 286 Filed: 01/03/17 Page 1 of 1 PageID #:1381

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                               Eastern Division

Randy R. Liebich
                                         Plaintiff,
v.                                                      Case No.: 1:11−cv−05624
                                                        Honorable Robert W. Gettleman
Wexford Health Sources, Inc., et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 3, 2017:


       MINUTE entry before the Honorable Robert W. Gettleman: Status hearing held on
1/3/2017. By agreement, this cause is dismissed with leave to reinstate on or before
2/17/2017. Civil case terminated. Mailed notice (gds)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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